IN THE UNITED STATES DISTRICT COURT FOR
THE WESTERN DISTRICT OF MISSOURI

AFFIDAVIT

l, Matthew Smith1 being first duly sworn, do hereby depose and state that:

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l am a Task Force Officer (TFO) with United States lmmigration and Customs
Enforcement (ICE) Office ofHomeland Security lnvestigations (HSI). l have been a sworn
law enforcement officer since 2001 and have been employed by the Jasper County Sheriff`s
Office, Carthage1 l\/lissouri. since October 2006. l am currently assigned to the Southwest
l\/lissouri Cyber Crimes Task Force (SWCCTF).

l have received training in the area of child exploitation and child pornography
investigations, entic-ement, inducement oflninors and have had the opportunity to observe
and review numerous examples of child pornography in all forms of media, including
computer media.

As part of my duties as a TFO, l investigate criminal violations relating to child
exploitation, child pornography, human trafficking, and coercion and enticement. in
violation of 18 U.S.C. §§ 225], 2422(a) and (b), 2252(a), and 2252A.

The statements in this affidavit are based on personal observations, training and experience,
investigation of this ntatter, and information obtained from other agents and witnesses
Because this affidavit is being submitted for the limited purpose of securing a complaint
and an arrest warrant, l have not included each and every fact known to me concerning this
investigation l have set forth the facts necessary to establish probable cause to believe that
KALEB WlLSON has violated Title IS, United States Code, Sections 2252(a)(2), that is,

receipt and distribution of child pornographyl

Case 6:18-mj-02074-DPR Document 1-1 Filed 10/12/18 Page 1 of 5

STATUTORY AUTHORITY

18 U.S.C. § 2252 prohibits a person from knowingly transporting shipping, receivingt

distributing, reproducing for distribution, or possessing any visual depiction of minors

engaging in sexually explicit conduct when such visual depiction was either mailed or
shipped or transported in interstate or foreign commerce by any means, including by
computer_. or when such visual depiction was produced using materials that had traveled in
interstate or foreign commerce

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The following definitions apply to this Affidavit:

a. The term "minor.” as defined in 18 U`S.C. § 2256(l), refers to any person under
the age ofeighteen years.

b. The term “sexually explicit conduct,” 18 U.S.C. § 2256(2)(A)(i-v), is defined as
actual or simulated (i) sexual intercourse, including genital-genital, oral-genital,
anal-genital, or oral-anal, whether between persons ofthe same or opposite sex; (ii)
bestiality; (iii) masturbation; (iv) sadistic or masochistic abuse; or (v) lascivious
exhibition of the genitals or pubic areas of any person.

PROBABLE CAUSE

On Friday, l'\/Iay 5, 2017, lnstagram submitted CyberTipline Report 20480088 (CTR) to

the Nationa! Center for l\/lissing and Exploited Children (NCMEC). The CTR indicated

that an lnstagram user, identified with the e-mail address “l<aleb_88_3l l@hotmail.com,”
up|oaded multiple images depicting child pornography to Instagrarn. The images uploaded
by the suspect user were included in the CTR submission. The CTR was then forwarded

to the Southwest l\/lissouri Cyber Crimes Tasl< Force for investigation

Case 6:18-mj-02074-DPR Document 1-1 Filed 10/12/18 Page 2 of 5

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On August 22. 2017, l reviewed the images submitted with the CTR. One such image
depicted the lower torso ofa child lying her stomach. The focal point ofthe image is the
chiid’s buttocks. The image captured the child’s genital area_

The CTR indicated that the images were uploaded between l\/larch 21, and March 26, 2017.
The CTR also identified the 1P address used to post the images as
2602:306:c5fl :4560:deb:8a3a:99ec:48cc.

On l~`riday, May 5, 2017, an administrative subpoena was issued to AT&T lnternet Services
requesting subscriber information for the lP address,
2602:306:€5fl :4560:deb:Sa3a:99ec:4SCc.

On Wednesday, June 14, 2017, AT & T lnternet Services responded to the administrative
subpoena and identified the account holder as Kevin Wilson, having a physical and billing
address of 1922 South l\/loff`ett- Joplin, l\/lissouri, 64804.

On l\/Ionday April 2, 2018, 1_ along with other investigators, executed a search warrant
authorized under color of the laws of the State ofl\/Iissouri at the residence of Kevin and
Kaleb WILSON, located at 1922 South l\/loffett, Joplin, Missouri.

Kaleb WlLSON was interviewed by myself and FBI TFO Chip Root. Kaleb WILSON
admitted that he searched for child pornography on torrent websites such as “4chan.”
Kaleb WILSON stated that he does not store child pornography due the ease of locating it
on the lnternet. Kaleb WILSON advised that he views child pornography on his cellular
telephone and a computer located in the living room of the residence Kaleb WlLSON
stated that he has viewed child pornography since he was approximately 13 years old.

At the conclusion of the search of the WILSON residence, several electronic items capable

of accessing the lnternet and/or storing media content were seized from the home pending

Case 6:18-mj-02074-DPR Document 1-1 Filed 10/12/18 Page 3 of 5

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forensic examination The forensic examination of seized items from the WlLSON
residence is ongoing

On Tuesday` August 14, 20181 Detective Chadd Nolan` of the Vancouver, Washington
Police Department, contacted the Southwest Missouri Cyber Crimes Task Force and
requested assistance in his investigation of Kaleb WlLSON involving a minor female,
hereafter, .lane Doe, residing in hisjurisdiction.

Detective Nolan initiated his investigation after the mother ofa minor female reported that
her child had been exchanging sexually explicit messages and imagery with at least one
adult male.

One ofthe suspects developed from the follow-up investigation was identified as l<laleb L.
WILSON, residing at 1922 South Moffett, Joplin, Missouri. Kaleb WILSON
communicated with the minor victim via the social media application “Kil<_,” under the
username "Corvettel\/lan69," and using the SnapChat application under username
“kalebw91.”

Detective Nolan was able to determine that Kaleb WILSON and Jane Doe exchanged
communications between December 2016, through August 08, 2018, during the forensic
examination of.lane Doe’s electronic tablet and cellular telephone

The forensic examination of the devices also revealed that Kaleb WILSON and Jane Doe
exchanged pictures with one another. Specifically, Jane Doe sent Kaleb WILSON images
depicting her genital area. Kaleb WlLSOl\l sent Jane Doe multiple images of his face and
a picture of an erect penis.

Communications between .1ane Doe and Kaleb WlLSON indicated that Kaleb WlLSON

was aware of the fact that Jane Doe was a minor. On August 7, 2018, during a chat thread

Case 6:18-mj-02074-DPR Document 1-1 Filed 10/12/18 Page 4 of 5

with Kaleb WILSON, lane Doe wrote, “625 days until 1 can be with you without vvorrying
what could happen.” Later, in the same chat conversation the Jane Doe stated, “Once l

get ajob 1 am opening a savings account for once 1 turn 18 and l an headed straight for

n

you. '
CONCLUSION
21. Based upon the above facts, this affiant believes there is probable cause in support of a

criminal complaint against Kaleb WILSON for violation Tit|e 18, United States Code,

Sections 225(a)(2), that is, receipt and distribution ofchild pornography

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Tasl<. Force Officer
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Sworn and subscribed to before me this l / day of October 201 8

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DAVID P. RUSH
UNITED STATES MAGISTRATE JUDGE

Case 6:18-mj-02074-DPR Document 1-1 Filed 10/12/18 Page 5 of 5

